Case 2:11-cr-00107-WFN   ECF No. 1390   filed 02/12/13   PageID.6441 Page 1 of 6
Case 2:11-cr-00107-WFN   ECF No. 1390   filed 02/12/13   PageID.6442 Page 2 of 6
Case 2:11-cr-00107-WFN   ECF No. 1390   filed 02/12/13   PageID.6443 Page 3 of 6
Case 2:11-cr-00107-WFN   ECF No. 1390   filed 02/12/13   PageID.6444 Page 4 of 6
Case 2:11-cr-00107-WFN   ECF No. 1390   filed 02/12/13   PageID.6445 Page 5 of 6
Case 2:11-cr-00107-WFN   ECF No. 1390   filed 02/12/13   PageID.6446 Page 6 of 6
